                       Case 1-19-44735-cec                           Doc 3    Filed 08/01/19     Entered 08/01/19 16:11:58




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Luz C. Velasquez                                                                              Case No.
                                                                                    Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


 Date: July 25, 2019                                                     /s/ Luz C. Velasquez
                                                                         Luz C. Velasquez
                                                                         Signature of Debtor

 Date: July 25, 2019                                                     /s/ Norma E. Ortiz
                                                                         Signature of Attorney
                                                                         Norma E. Ortiz
                                                                         Ortiz & Ortiz, LLP
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USBC-44                                                                                                                       Rev. 9/17/98


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